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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS


AKH COMPANY, INC.,             )
                               )
               Plaintiff,      )
                               )                Case No. 13-2003-JAR-KGG
v.                             )
                               )
UNIVERSAL UNDERWRITERS         )
INSURANCE COMPANY,             )
                               )
               Defendant,      )
______________________________ )

            ORDER ON DEFENDANT’S MOTION TO COMPEL

      Now before the Court is Defendant’s “Motion to Compel Sufficient Written

Responses and Production of Documents.” (Doc. 123.) For the reasons set forth

below, the Court GRANTS this motion.

I.    GENERAL BACKGROUND

      A.    Factual Background and Claims.

      The facts of the case were summarized by District Court in its Order (Doc.

66) denying Defendant’s motion to transfer venue, which stated in relevant part:

                   This is an insurance coverage dispute filed by
            AKH Company, Inc. (“AKH”) against Universal
            Underwriters Insurance Company (“UUIC”), arising out
            of a trademark infringement action against AKH which
            UUIC defended and settled under a reservation of rights.
            AKH is a California corporation with its principal place
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                of business in California. It sells and installs tires
                through its retail garages and internet website under the
                name “Discount Tire Centers.” In May of 2010, The
                Reinalt-Thomas Corporation dba Discount Tire filed a
                civil action against AKH in the District of Arizona,
                alleging that AKH infringed upon and diluted its
                trademark under state and federal law. AKH in turn filed
                its own civil action against Reinalt-Thomas in the Central
                District of California and successfully moved to transfer
                venue of the first action to the Central District of
                California. The two lawsuits were consolidated (“the
                R-T lawsuits”) and ultimately settled in December of
                2012. UUIC insured AKH under a series of annual
                liability insurance policies from 2007 to 2013. In
                December of 2011, AKH notified UUIC of the R-T
                lawsuits and tendered the claims against AKH for a
                defense. UUIC accepted AKH’s tender of defense of the
                R-T lawsuit under a reservation of rights.
                        In this case, AKH seeks declaratory relief that
                UUIC breached its duties to defend, settle, and act fairly
                and in good faith. UUIC brings counterclaims for
                declaratory relief and breach of contract arising out of its
                defense and settlement of the R-T lawsuits.1

(Doc. 66, at 1-2.)

B.     Nature of the Motion to Compel.

       Defendant brings the present motion arguing that Plaintiff “has refused to

provide critical facts that relate to the very heart of this lawsuit.” (Doc. 124,



       1
        Hereinafter, Plaintiff AKH Company, Inc. shall be referred to as “Plaintiff” or
“AKH.” Defendant Universal Underwriters Insurance Company shall be referred to as
“Defendant” or “Universal.” Reinalt-Thomas shall be referred to as “RT” and the
underlying lawsuit between it and Plaintiff shall be referred to as the “RT litigation.”

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sealed, at 6.) Defendant contends that it took Plaintiff “over four months to

provide partial written responses and to produce some documents” in response to

the underlying discovery requests. (Id.) Defendant further contends that Plaintiff

“produced 185 pages of privilege logs, identifying approximately 3,500 documents

(more than those actually produced!) as allegedly attorney-client privileged or

work product communications withheld from production.” (Id.) Defendant

contends that even if these documents are in fact privileged, they should be

produced under the crime-fraud exception to the attorney-client privilege. This

portion of Defendant’s motion, including the relevant evidence and factual

allegations, is discussed in Section III of this Order, infra.

         Defendant also complains about various other “run of the mill” objections

Plaintiff raised in response to Defendant’s discovery requests. These objections,

which Plaintiff virtually ignored in its responsive brief, are discussed in Section II,

infra.

II.      GENERAL DISCOVERY OBJECTIONS.

         In response to Defendant’s discovery requests, Plaintiff raised various

standard objections which, for various reasons, Defendant argues are improper.

The Court will address each of these objections in turn.

         A.    “Materiality” versus “Relevance.”


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       Defendant contends that in response to its discovery requests, Plaintiff

objects, in part, that the requests seek documents “which are not material.” (Doc.

124, sealed, at 15.) Defendant argues that this objection “wholly ignores that the

standard for permissible discovery is that it be relevant to a party’s claim or

defense, not that it be ‘material.’” (Id., at 16.)

       Plaintiff has not addressed this issue in its responsive brief. As such, the

objection is waived. Sonnino v. Univ. of Kansas Hosp. Auth., 221 F.R.D. 661,

670–71 (D.Kan.2004) (holding that a party fails to meet its burden to support its

objections when it fails to address those objections in response to a motion to

compel, leaving the Court “without any basis to determine whether the objections

are valid and applicable in light of the particular circumstances of the case”);

Cooper v. Old Dominion Freight Line, Inc., No. 09–2441–JAR, 2011 WL

251447, at *2 (D.Kan. Jan.25, 2011) (holding that a discovery objection not relied

upon in response to a motion to compel is waived). The Court will, however, also

address the substantive merits of the objection.

       Fed.R.Civ.P. 26(b) states that “[p]arties may obtain discovery regarding any

matter, not privileged, that is relevant to the claim or defense of any party . . .

Relevant information need not be admissible at the trial if the discovery appears

reasonably calculated to lead to the discovery of admissible evidence.” As such,


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the requested information must be both nonprivileged and relevant to be

discoverable.

      “‘Discovery relevance is minimal relevance,’ which means it is possible and

reasonably calculated that the request will lead to the discovery of admissible

evidence.” Teichgraeber v. Memorial Union Corp. of Emporia State University,

932 F.Supp. 1263, 1265 (D. Kan. 1996) (internal citation omitted). “Relevance is

broadly construed at the discovery stage of the litigation and a request for

discovery should be considered relevant if there is any possibility the information

sought may be relevant to the subject matter of the action.” Smith v. MCI

Telecommunications Corp., 137 F.R.D. 25, 27 (D.Kan.1991). Stated another way,

“discovery should ordinarily be allowed unless it is clear that the information

sought can have no possible bearing on the subject matter of the action.” Snowden

By and Through Victor v. Connaught Lab., 137 F.R.D. 325, 341 (D.Kan.1991),

appeal denied, 1991 WL 60514 (D.Kan. Mar. 29, 1991).

      This differs substantially from the definition of “material.” Typically, a fact

is considered “material” if “proof of that fact would have effect on establishing or

refuting one of essential elements of a cause of action or defense asserted by the

parties, and would necessarily affect [the] application of [an] appropriate principle

of law to the rights and obligations of the parties.” BLACK’S LAW DICTIONARY,


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977 (6th ed. 199). Clearly, this is a much higher standard than whether the

information has the requisite discovery relevance. Plaintiff’s objection is

substantively overruled. Plaintiff is directed to provide supplemental responses

without this objection.

      B.        Vagueness.

      Defendant next argues that Plaintiff has objected to “all but one” of

Defendant’s discovery requests

                on the grounds that the requests contain terms such as
                ‘EMBODY,’ ‘COMMUNICATIONS,’ ‘RELATING TO’
                and/or ‘RELATED’ that are ‘vague and ambiguous’ so as
                to render the requests so broad as to potentially include
                all documents in [Plaintiff’s] possession and make it
                impossible for [Plaintiff] to determine exactly what
                documents are responsive.

(Doc. 124, sealed, at 17.) Defendant continues that the objections are “meritless”

and the terms “should be construed in their ordinary meaning based on common

sense.” (Id.)

      Plaintiff again chooses not to address this issue in its responsive brief. As

such, the objection is waived. Sonnino, 221 F.R.D. at 670–71; Cooper 2011 WL

251447, at *2. The Court will again, however, address the substantive merits of

this objection.

      Courts look “with disfavor on conclusory or boilerplate objections that


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discovery requests are irrelevant, immaterial, unduly burdensome, or overly

broad.” Id., 650. “Unless a request is overly broad, irrelevant, or unduly

burdensome on its face, the party asserting the objection has the duty to support its

objections.” Sonnino, 221 F.R.D. 661, at n.36 (D.Kan.2004) (citing Hammond v.

Lowe's Home Ctrs., Inc., 216 F.R.D. 666, 670 (D.Kan. 2003)); Cont’l Ill. Nat’l

Bank & Trust Co. of Chicago v. Caton, 136 F.R.D. 682, 685 (D. Kan. 1991)

(stating that a party resisting a discovery request based on relevancy grounds bears

the burden of explaining how “each discovery request is irrelevant, not reasonably

calculated to the discovery of admissible evidence, or burdensome”). Thus, “the

objecting party must specifically show in its response to the motion to compel,

despite the broad and liberal construction afforded by the federal discovery rules,

how each request for production or interrogatory is objectionable.” Sonnino, 221

F.R.D. at 670–71 (internal citation omitted).

      The Court finds that the terms “embody,” “communications,” “relating to,”

and “related” are not per se vague and ambiguous. Plaintiff can, and should,

employ the ordinary, common sense definitions of these words in the context of the

discovery requests at issue. Plaintiff’s objections are substantively overruled.

Plaintiff is directed to provide supplemental responses without these objections.

      C.     Temporal Limitation.


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      Plaintiff also objects that “all but one” of Defendant’s requests are overbroad

for failure to be limited to a particular time period. (Doc. 124, sealed, at 17.) The

Court finds that Defendant has adequately limited the time frame for the various

discovery requests and overrules Plaintiff’s objection.

      D.     Identification of Produced Documents.

      Defendant next argues that Plaintiff did not comply with the requirements of

Fed.R.Civ.P. 34(b)(2)(E), which provides that “[a] party must produce documents

as they are kept in the ordinary course of business or must organize and label them

to correspond to the categories in the request.” Defendant argues that Plaintiff has

engaged in a document “dump,” “‘deliberately [mixing] critical documents with

others in the hope of obscuring significance.’” (Doc. 124, sealed, at 18 (citing

S.E.C. v. Collins & Aikman Corp, 256 F.R.D. 403, 409 (S.D.N.Y. 2009).)

Defendant contends that the documents should be produced again with proper

organization and indexing “so that they are organized to correspond to the

[specific] document requests.” (Id.)

      Because Plaintiff fails to address this issue in its responsive brief, the Court

grants this portion of Defendant’s motion as uncontested. Plaintiff is instructed to

reproduce the documents at issue with sufficient indexing and organization so as to

indicate which documents produced correspond to which particular discovery


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requests.

      E.     Sufficiency of Privilege Log.

      Defendant argues that the information contained in Plaintiff’s privilege log

is insufficient to support an assertion of the attorney-client privilege or work

product doctrine for 15-20% of the documents listed on Plaintiff’s 146-page

privilege log. (Doc. 124, sealed, at 19.) Pursuant to the Federal Rules of Civil

Procedure,

             [w]hen a party withholds information otherwise
             discoverable by claiming that the information is
             privileged or subject to protection as trial-preparation
             material, the party must:

                    (I)    expressly make the claim; and
                    (ii)   describe the nature of the documents,
                           communications, or tangible things not
                           produced or disclosed – and do so in a
                           manner that, without revealing information
                           itself privileged or protected, will enable
                           other parties to assess the claim.

Fed.R.Civ.P. 26(b)(5); see also Kear v. Kohl’s Dept. Stores, Inc., No. 12-1235-

JAR-KGG, 2013 WL 3088922 (D.Kan. June 18, 2013) (citation omitted) (stating

that “[a] privilege log must provide sufficient information to allow the other party

assess the claimed to privilege.”).

      Defendant has, however, provided only certain “examples” of entries in the

voluminous privilege log that it finds questionable. (See Doc. 124, sealed, at 20;
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Doc. 124-21, sealed, at 3.) It is not the Court’s province to engage in a line-by-line

review of the privilege log at issue and attempt to surmise which entries Defendant

may or may not have wanted to Court to consider in the present motion as

improper applications of the attorney-client privilege or work product doctrine.

       As to the three examples listed on page 15 of Defendant’s brief, the Court

does not find the privilege log entries to be facially improper. The first two

examples involve communications between Plaintiff’s officers regarding

settlement issues.

                Organizational clients and business entities often are
                personified by a number of employees. In preparation
                for, or in the midst of, consultations with an attorney,
                employees of the client will often consult one another to
                ensure that the attorney's advice is based on full
                knowledge of all relevant facts.

Williams v. Sprint/United Management Co., No. 03-2200-JWL-DJW, 2006 WL

266599, *3 (D. Kan. Feb. 1, 2006). The Court finds these two entries to

sufficiently describe examples of “confidential information gathered for the

dominant purpose of facilitating the attorney’s efforts to provide services to the

client.” Id.2


       2
          Even though the Court holds the privilege log to be sufficient, Defendant will
still be able to see the documents to the extent it establishes a prima facie case sufficient
to invoke the crime-fraud exception to the attorney-client privilege, discussed in § III,
infra.

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       The third and final example relates to five entries in which the recipients’

initials in the log are cut off. (Doc. 124, sealed, at 20.) Plaintiff is instructed to

provide Defendant with revised copy of the privilege log with this information

intact and legible.

III.   ATTORNEY-CLIENT PRIVILEGE & AND THE CRIME-FRAUD
       EXCEPTION.

       As referenced above, Defendant also argues that even if communications

withheld by Plaintiff are found to be privileged, “both Kansas and California law

recognize an exception to the attorney-client privilege where evidence

demonstrates that a crime or fraud was committed.” (Doc. 124, sealed, at 22.) The

Court will thus examine the applicable legal standard and apply it to the evidence

presented by Defendant.

       A.    Applicability of Privilege to Documents Regarding Settlement.

       Defendant contends that although Plaintiff “shut [Defendant] completely out

of the settlement process,” Defendant’s role as “defending insurer” gives it the

“absolute right to participate in the settlement negotiations that resolved the

consolidated underlying lawsuits.” (Doc. 124, sealed, at 21.) Plaintiff responds

that “[t]here is no question in this case that Paul Hastings [law firm] was acting as




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independent counsel” for Plaintiff,3 thus shielding from discovery its

communications with that law firm under the attorney-client privilege. (Doc. 136,

at 10.) Defendant argues that “Paul Hastings’ status as either ‘appointed’ defense

counsel or ‘independent counsel’ does not matter, because under either California

or Kansas law, defending insurer had an absolute right to participate in the

settlement negotiations that resolved the consolidated underlying actions.” (Doc.

124, sealed, at 21.)

       The policy at issue states that “[e]ach INSURED must cooperate and assist

US in the investigation, settlement, defense, enforcement of contribution or

indemnification. The INSURED may not, except at their own expense, make any

offer or payment, assume any obligation, or incur any expenses unless otherwise

permitted in this Coverage Part.” (Id. (capitalization in original).) Defendant

complains that Plaintiff “never provided [Defendant] the opportunity to exercise its

duty and right to participate in settlement negations” in the underlying lawsuit,

failed to inform Defendant of negotiations occurring the in the fall of 2012, and

that Plaintiff had already reached a settlement before conveying RT’s settlement


       3
          In the Court’s estimation, Plaintiff has created at least some question regarding
this issue by alleging in its Complaint that Defendant “breached its duty of defense by . . .
not providing [Plaintiff] with independent counsel.” (Doc. 1, at ¶ 51.) The Complaint
continues that Defendant “wrongfully failed to provide independent counsel.” (Id., at ¶
77.)

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demand to Defendant.4 (Id., at 21-22.)

      The Court finds that the status of the Paul Hastings firm was created by

agreement in the February 29, 2012, correspondence from Defendant to Plaintiff.

(Doc. 32-9, at 35-41.) In that letter, Defendant stated that it “is willing to pay for

AKH’s choice of counsel instead of assigning provided that AKH’s choice of

counsel agrees to abide by the terms of California Civil Code section 2860 and

complies with Universal’s defense counsel guidelines and billing rates . . . .”5 (Id.,

at 35.) That statute

             requires an insurance carrier to provide independent
             counsel to the insured when a conflict of interests exists
             between the insured and the carrier. This independent
             counsel is often called Cumis counsel because § 2860
             codified the substantive elements of San Diego Navy
             Federal Credit Union v. Cumis Ins. Society, Inc., 162
             Cal.App.3d 358, 208 Cal.Rptr. 494 (1984). See First
             Pacific Networks, Inc. v. Atlantic Mutual Ins. Co., 163
             F.R.D. 574, 576 n. 1 (N.D.Cal. 1995). Section 2860,
             however, also protects the interest of the carrier. Thus,
             the statute provides that

                    it shall be the duty of [Cumis] counsel

      4
        As discussed infra, Defendant also contends that “neither [Plaintiff] nor its
counsel Paul Hastings, whom [Defendant] was paying to defend the RT Lawsuit, never
informed [Defendant] that Paul Hastings had a 25% contingency interest in the ultimate
settlement.” (Doc. 124, sealed, at 22 (emphasis in original.)
      5
          The parties apparently operated under this agreement, evidencing the acceptance
of these terms by Plaintiff. This agreement between the parties obviates the Court’s need
to decide the choice of law as to this issue.

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                   and the insured to disclose to the insurer
                   all information concerning the action
                   except privileged materials relevant to
                   coverage disputes, and timely to inform
                   and consult with the insurer on all
                   matters related to the action . . . . Any
                   information disclosed by the insured or
                   by independent counsel is not a waiver
                   of the privilege as to any other party.

             Cal. Civil Code § 2860(d). However, “[t]hese
             obligations are strictly of an informational character, and
             arise only because of the unique three-cornered
             arrangement that carriers create when they agree to
             defend only under a reservations of rights.” First
             Pacific, 163 F.R.D. at 579 (citing Assurance Co. of
             America v. Haven, 32 Cal.App.4th 78, 89, 38
             Cal.Rptr.2d 25 (1995)). Section 2860 does not create an
             attorney-client relationship between Cumis counsel and
             the carrier. Id.; Assurance, 32 Cal.App.4th at 90, 38
             Cal.Rptr.2d 25.

San Gabriel Basin Water Quality Authority v. Aerojet-General Corp., 105

F.Supp.2d 1095, 1101 (C.D. Cal. 2000). Under the statutory agreement, “the

insured and its independent counsel retain fully the right to communicate between

themselves in private – and to shield those communications from the carrier.” Id.

(citing First Pacific, 163 F.R.D. at 580).

      Thus, Plaintiff and its counsel have a statutory duty to provide Defendant

with any and all information regarding this case – including about settlement –

other than information relating to coverage disputes. Because this duty is


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informational only, however, Plaintiff may still apply the attorney-client privilege

to the underlying communications it had with its counsel on any issue and specific

communications, generally, need not be produced. As discussed below, however,

Defendant argues that the crime-fraud exception to the attorney-client privilege

mandates the production of the requested information.

      C.     The Crime-Fraud Exception.

      Defendant asks the Court to “conduct an in camera review of a sampling of

[Plaintiff’s] documents withheld from production, to determine if they should not

be shielded from disclosure because they were made in furtherance of a crime,

fraud or other misconduct.” (Doc. 124, sealed, at 22-23 (emphasis removed).)

Defendant also seeks “all communications regarding fee agreements between

[Plaintiff] and its attorneys at Paul Hastings [litigating] and Gauntlett & Associates

[coverage] so that it can see how/whether both counsel had a pecuniary interest in

the settlement.” (Id., at 23.) Plaintiff argues that Defendant’s motion is “plainly

lacking in the evidentiary showing needed to substantiate any such crime-fraud

exception, e.g. a prima facie showing that a crime-fraud was committed.” (Doc.

136, at 12 (emphasis in original).)

      As the parties acknowledge, there remains an issue as to the choice of law

between California law and Kansas law in this case. As such, the Court will


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analyze the crime-fraud exception under the law of both jurisdictions.

            1.     California law.

      Under California law,

            [t]o invoke the crime-fraud exception, the proponent
            must make a prima facie showing that the services of the
            attorney were sought or obtained to aid someone in
            committing a crime or fraud. (BP Alaska Exploration,
            Inc. v. Superior Court (1988) 199 Cal.App.3d 1240,
            1262, 245 Cal.Rptr. 682.) ‘Evidence Code section 956
            does not require a completed crime or fraud. It applies to
            attorney communications sought to enable the client to
            plan to commit a fraud, whether the fraud is successful or
            not.’ (Ibid.; see also Travelers Ins. Companies v.
            Superior Court (1983) 143 Cal.App.3d 436, 446, 191
            Cal.Rptr. 871 [communication must be ‘‘made in
            contemplation of crime’’ for exception to apply].) ‘[I]t is
            the intent of the client upon which attention must be
            focused and not that of the lawyers.’ (State Farm &
            Casualty Co. v. Superior Court (1997) 54 Cal.App.4th
            625, 645, 62 Cal.Rptr.2d 834.)

Favila v. Katten Muchin Rosenman LP, 188 Cal.App.4th 189, 220, 115

Cal.Rptr.3d 274 (Cal.App. 2 Dist. 2010).

      This prima facie standard of proof was established in BP Alaska

Exploration v. Superior Court, 199 Cal.App.3d 1240, 245 Cal.Rptr. 682, 696–97,

and was adopted by the Ninth Circuit in In re Grand Jury Proceedings, 87 F.3d

377, 380 (9th Cir.1996). The In re Grand Jury case held that a party seeking to

invoke this exception to the attorney-client privilege must make a prima facie


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showing that “the communications were in furtherance of an intended or present

illegality . . . and that there is some relationship between the communications and

the illegality.” Id. (quoting United States v. Laurins, 857 F.2d 529, 540 (9th

Cir.1988), cert. denied, 492 U.S. 906, 109 S.Ct. 3215, 106 L.Ed.2d 565 (1989)).

The In re Grand Jury court also held:

             [t]o trigger the crime-fraud exception, the government
             must establish that ‘the client was engaged in or planning
             a criminal or fraudulent scheme when it sought the
             advice of counsel to further the scheme.’ In re Sealed
             Case, 754 F.2d at 399 (citations omitted). The
             government is not obliged to come forward with proof
             sufficient to establish the essential elements of a crime or
             fraud beyond a reasonable doubt, United States v.
             Friedman, 445 F.2d 1076, 1086 (9th Cir.), cert. denied,
             404 U.S. 958, 92 S.Ct. 326, 30 L.Ed.2d 275 (1971), since
             the crime-fraud exception does not require a completed
             crime or fraud but only that the client have consulted the
             attorney in an effort to complete one. In re Grand Jury
             Subpoena Duces Tecum (Marc Rich & Co., A.G. v.
             U.S.), 731 F.2d 1032, 1039 (2d Cir.1984). On the other
             hand, it isn't enough for the government merely to
             allege that it has a sneaking suspicion the client was
             engaging in or intending to engage in a crime or fraud
             when it consulted the attorney. A threshold that low
             could discourage many would-be clients from
             consulting an attorney about entirely legitimate legal
             dilemmas. Rather, the district court must find
             ‘reasonable cause to believe’ that the attorney's
             services were ‘utilized . . . in furtherance of the
             ongoing unlawful scheme.’

In re Grand Jury Proceedings, 867 F.2d at 541 (emphasis added).


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             2.    Kansas law.

      For instruction on the Kansas approach to the crime-fraud exception, the

Court turns to the opinion of Berroth v. Kansas Farm Bureau Mutual Ins. Co.,

Inc., 205 F.R.D. 586 (D. Kan. 2002). The Berroth court held

             [u]nder Kansas law, the attorney-client privilege does not
             extend ‘to a communication if the judge finds that
             sufficient evidence, aside from the communication, has
             been introduced to warrant a finding that the legal service
             was sought or obtained in order to enable or aid the
             commission or planning of a crime or a tort.’ K.S.A.
             60–426(b)(1). ‘Sufficient evidence’ for purposes of the
             crime-fraud exception is ‘that which constitutes a prima
             facie case.’ Burton v. R.J. Reynolds Tobacco Co., 177
             F.R.D. 491, 501 (D.Kan.1997) (citing Wallace,
             Saunders, Austin, Brown & Enochs, Chtd. v. Louisburg
             Grain Co., 250 Kan. 54, 61, 824 P.2d 933, 939 (1992)).
             A prima facie case consists of ‘evidence which, if left
             unexplained or uncontradicted, would be sufficient to
             carry the case to the jury and sustain a verdict in favor of
             the plaintiff on the issue it supports.’ Wallace,
             Saunders, 250 Kan. at 61, 824 P.2d at 939 (quotation
             omitted).

Id., at 589. Berroth addressed the issue under federal law as well, holding that the

             ‘attorney-client privilege does not apply where the client
             consults an attorney to further a crime or fraud.’ Motley,
             71 F.3d at 1551 (quotation omitted). The party claiming
             the exception applies ‘must present prima facie evidence
             that the allegation . . . has some foundation in fact.’ Id.
             The trial court has discretion to determine whether the
             party has established a prima facie case, id., but it is
             unclear what, precisely, constitutes a prima facie case for
             establishing the crime-fraud exception under federal law.
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             United States v. Zolin, 491 U.S. 554, 563–64 n. 7, 109
             S.Ct. 2619, 105 L.Ed.2d 469 (1989) (‘The quantum of
             proof . . . remains . . . subject to question’).

Id.

      Berroth relied on the case of In re Grand Jury Subpoenas, 144 F.3d 653,

660 (10th Cir. 1998), which analyzed how other circuits “have attempted to define

precisely what the prima facie standard requires.” Id. (citing In re Richard Roe,

Inc., 68 F.3d 38, 40 (2d Cir.1995) (probable cause to believe a crime or fraud has

been committed); Haines v. Liggett Group, Inc., 975 F.2d 81, 95–96 (3d Cir.1992)

(evidence that if believed by the fact finder would be sufficient to support a finding

that the elements of the crime-fraud exception were met); In re International Sys.

& Controls Corp. Sec. Lit., 693 F.2d 1235, 1242 (5th Cir.1982) (evidence such as

will suffice until contradicted and overcome by other evidence); United States v.

Davis, 1 F.3d 606, 609 (7th Cir.1993) (evidence presented by the party seeking

application of the exception is sufficient to require the party asserting the privilege

to come forward with its own evidence to support the privilege); In re Grand Jury

Proceedings (Appeal of Corporation), 87 F.3d 377, 381 (9th Cir.1996) (reasonable

cause to believe attorney was used in furtherance of ongoing scheme); In re Grand

Jury Investigation (Schroeder), 842 F.2d 1223, 1226 (11th Cir.1987) (evidence

that if believed by the trier of fact would establish the elements of some violation


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that was ongoing or about to be committed); In re Sealed Case, 107 F.3d 46, 50

(D.C.Cir.1997) (evidence that if believed by the trier of fact would establish the

elements of an ongoing or imminent crime or fraud).) Berroth also acknowledged

that “the Tenth Circuit has not yet articulated its precise standard for what is

required to establish a prima facie case under the crime-fraud exception.” Id., at

589-590.

      Given this context, the Berroth court was

             guided by the principle that, at a bare minimum, before
             the court even has an obligation to consider whether
             to conduct an in camera review of the privileged
             material, the party invoking the crime-fraud
             exception must make a threshold showing of a factual
             basis that is ‘adequate to support a good faith belief
             by a reasonable person that in camera review of the
             materials may reveal evidence to establish the claim
             that the crime-fraud exception applies.’ Zolin, 491
             U.S. at 572, 109 S.Ct. 2619 (internal citations and
             quotations omitted); accord Burton v. R.J. Reynolds
             Tobacco Co., 167 F.R.D. 134, 141 (D.Kan.1996) (citing
             Zolin).

Id. (emphasis added). The Court finds this standard to be consistent with both

California and Kansas law and will apply it to the matter at bar.

      D.     Establishing a Prima Facie Case of Fraud.

      Defendant requests that the Court conduct an in camera inspection “of a

sampling of [Plaintiff’s] documents withheld from production, to determine if they


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should not be shielded from disclosure because they were made in furtherance of a

crime, fraud or other misconduct.” (Doc. 124, sealed, at 22-23.) Defendant

contends that it “has a good faith belief that based on the documents it has received

in discovery, coupled with those it believes exist and were improperly withheld

from [Defendant] during its defense of [Plaintiff] (and now in discovery in this

coverage action), it will demonstrate by a preponderance of evidence that

[Plaintiff] engaged in a scheme to commit fraud against [Defendant].” (Id., at 26.)

Relying on Zolin, supra, Defendant argues that “[t]he United States Supreme

Court has specifically held that it is permissible for a court to conduct an in camera

review of the allegedly privileged documents to determine whether the crime-fraud

exception applies to such documents, and order any subsequent disclosures as

appropriate.” (Doc. 124, sealed, at 26.) This is an incorrect statement of the law.

      As an initial matter, Defendant cannot meet its burden with “beliefs” and

conclusory statements. It must set forth a factual basis to establish the prima facie

case. Documents Defendant “believes exist” are irrelevant to the analysis before

the Court. Zolin holds that

             Before engaging in in camera review to determine the
             applicability of the crime-fraud exception, ‘the judge
             should require a showing of a factual basis adequate to
             support a good faith belief by a reasonable person,’
             Caldwell v. District Court, 644 P.2d 26, 33 (Colo.1982),
             that in camera review of the materials may reveal

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             evidence to establish the claim that the crime-fraud
             exception applies.

49 U.S. at 572, 109 S.Ct. at 2631. In other words, a court will not order an in

camera inspection until after the requesting party meets the prima facie standard

with a factual basis. The Court will not, as Defendant suggests, engage in an in

camera inspection of a sampling of Plaintiff’s withheld documents in an effort by

the Court to compile evidence that would allow Defendant to establish a prima

facie case, that would then warrant a review of all documents. The approach

suggested by Defendant is inconsistent with California, Kansas, and federal law,

discussed supra.

      As such, the Court will analyze only the evidence presented in Defendant’s

brief to determine whether Defendant has established a prima facie showing that

the fraud-crime exception to the attorney-client privilege should be applied.

“Actionable fraud may be based upon false representations made as to existing and

material fact . . . or upon a suppression of facts which the party is under a legal or

equitable obligation to communicate and in respect of which he could not be

innocently silent . . . .” DuShane v. Union Nat. Bank, 223 Kan. 775, 759, 576

P.2d 674, 678 (1978); see also Hasso v. Hapke, ___ Cal.Rptr.3d ___, No.

G047495, G047588, 2014 WL 2768837 (Cal.Appp. 4 Dist. June 19, 2014). If the

evidence presented by Defendant establishes a prima facie case of fraud by

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Plaintiff based on these elements, only then will the Court order an in camera

inspection of documents withheld pursuant to the attorney-client privilege.

      E.     Facts Alleged Regarding RT Litigation Settlement Discussions.

      Defendant contends that Plaintiff and RT began settlement negotiations after

their failed mediation in September 2012. Defendant also contends that it was not

informed of the negotiations, in violation of Defendant’s rights under Plaintiff’s

insurance policy, until approximately two months later. For purposes of this

motion, the Court will accept both allegations as true.

      On November 14, 2012, Plaintiff received a $20 million settlement demand

directly from RT. (Doc. 124-24, sealed, at 20.) The demand referenced “policy

limits” exposure under Plaintiff’s underlying insurance policy with Defendant.

(Id.) Defendant contends – and Plaintiff apparently does not contradict – that this

letter was never communicated to Defendant. (Doc. 124, sealed, at 30.)

      On November 20, 2012, Plaintiff’s coverage counsel sent correspondence to

Defendant (Doc. 124-24, sealed, at 23-34) discussing a different demand letter

from RT’s counsel dated November 19, 2012, which contained a settlement

demand of $20 million (Id., at 41-42).6 A similar letter, dated November 19, 2012,


      6
        The firm of Gauntlett & Associates represented Plaintiff on issues regarding
coverage under Plaintiff’s insurance policy with Defendant. This firm, and the lawyers
working there, will be collectively referred to as “Plaintiff’s coverage counsel.”

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was e-mailed to Defendant by Plaintiff’s litigating counsel.7 (Id., at 36-39.) Both

letters mention the $20 million settlement demand from RT. (Id., at 26, 39.) The

former letter discusses the tax implications and benefit of having the settlement

finalized by the end of that calendar year and requests that Defendant authorize

settlement for $15 million. (Id., at 25, 34.) The latter later states that RT’s $20

million demand “is a reasonable calculation of what a jury might determine” and

opines that “settlement is reasonable and the preferred alternative to trial in this

case.” (Id., at 39.)

       The underlying settlement demand letter from RT’s attorney specifically

references the mediation in which the parties participated in September 2012.8 (Id.,

at 41-42.) RT’s counsel also noted that Plaintiff “took the position during

settlement negotiations that its exposure to liability for these claims provided

significant consideration for offsetting potential damages associated therewith to

bring [Plaintiff] to its final settlement number.” (Id.) There is no indication

whether RT is referring to Plaintiff’s position during negotiations occurring at the

mediation or in the subsequent two months.

       7
           The Paul Hastings firm represented Plaintiff in the underlying RT litigation.
This firm, and the lawyers working there, will be collectively referred to as “Plaintiff’s
litigating counsel.”
       8
         The Court is aware of no evidence discussing whether Defendant participated in
and/or had a representative at this mediation.

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      A draft settlement agreement was sent to Plaintiff’s litigating counsel by

RT’s counsel on November 27, 2012. (Doc. 124-24, at 63-79.) This draft

agreement includes an amount of $8 million to be paid by RT to Plaintiff, a portion

of which would be in exchange for Plaintiff’s “transfer of ‘discounttires.com’

domain name and any rights [Plaintiff] may have acquired in the

DISCOUNTTIRES.COM trademark . . . .” (Id., at 66 (capitalization in original).)

      The next day, November 28, 2012, Plaintiff’s coverage counsel sent

correspondence (Doc. 124-24, sealed, at 84-85) to Defendant’s counsel9 inquiring

as to the status of Defendant’s response to Plaintiff’s counsel’s November 20,

2012, letter (id., at 25-34) discussing RT’s $20 million settlement demand. The

November 28th letter reminds Defendant of the recommendation by Plaintiff’s

coverage counsel to settle the case for $15 million and “respectfully insist[ed]”

that, within two days (November 30, 2012), Defendant provide a “complete

substantive response to our correspondence, authorize the settlement on the terms

communicated and confirm that [Defendant] will honor its policy obligations by

paying all sums that [Plaintiff] is required to pay to effectuate settlement.” (Id., at

84-85.)



      9
         Defendant retained the firm of Sinnott, Puebla, Campagne & Curet, referred to
herein as “Defendant’s counsel.”

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      The settlement request from Plaintiff’s coverage counsel was slashed to $5

million, within the policy limits Defendant “now acknowledges,” per

correspondence dated November 30, 2012. (Id., at 87-90.) A revised draft

settlement agreement submitted by Plaintiff’s litigating counsel to RT’s counsel on

November 30, 2012, removed the $8 million and left blank the amount RT was to

pay Plaintiff to resolve the underlying litigation. (Doc. 124-24, at 94, 116.)

      In an e-mail dated November 30, 2012, Plaintiff’s litigating counsel

contacted Defendant regarding Defendant’s wish for a conference call discussing

RT’s settlement demand to Plaintiff. (Doc. 124-24, at 132.) Plaintiff’s counsel

stated that “settlement discussions with [RT] are quite fragile and time-sensitive, so

we want to try and keep the momentum going to see if a final resolution can be

reached in the next few days.” (Id.) Defendant responded to Plaintiff’s litigation

counsel, stating

             [b]asically I would like to discuss why you believe the
             $20 million demand [from RT] is reasonable. I have
             asked for and received evaluations of this case and have
             never been advised that it was your firm’s belief that this
             case had a value of $20 million. In [counsel’s] update of
             9/4/12 she states that [Plaintiff’s] experts were ‘strong’
             each punching significant holes in the theories of RT’s
             experts.’ IT was my belief that the case was defensible.
             In your 11/19/12 letter you now say that RT potentially
             has a very strong case for liability against [Plaintiff]. Are
             you now saying that [Plaintiff] did infringe on RT’s
             Trademark and that the same was intentional?

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                    I don’t see that you provided any reason for the
             change of evaluation or exposure. It appears that the
             reasons for your recommendation were all known when
             your firm first provided its opinions and evaluations to
             this company yet were left out of the evaluations.

(Id., at 134.) Defendant also inquired as to when RT first made its $20 million

settlement demand. (Id., at 134.) Plaintiff’s litigating counsel responded to

Defendant by correspondence dated December 4, 2012, that his evaluation of the

case “changed as a result of [the] rulings on the parties’ motions for summary

judgment/adjudication.” (Doc. 124-24, sealed, at 140.) Counsel reiterated its

request that Defendant extend $5 million in settlement authority to resolve the

litigation with RT. (Id., at 142-43.) Defendant was given no response as to when

RT first made the $20 million demand.

      Plaintiff’s coverage counsel sent Defendant correspondence two days later

on December 6, 2012, imploring that it was “imperative” for Defendant to “make

an offer to settle [the RT] claims against [Plaintiff] this week.” (Doc. 124-24,

sealed, at 145.) While contending more coverage was available, Plaintiff’s

coverage counsel mentioned “at least $5 million of coverage is available under

[Defendant’s] policies” and demanded that Defendant “must come forth with that

$5 million figure immediately to resolve [the RT litigation], before settlement

opportunities die on the table and before trial is nigh.” (Id., (emphasis in


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original).) This was followed by additional correspondence from Plaintiff’s

coverage counsel on December 7, 2012, stating “[t]here is no reason to not extend

– first thing next week – settlement authority of a least $5 million, the coverage

you acknowledged in your November 29, 2012 letter. Further delay will

jeopardize prospects for comprehensive settlement.” (Doc. 124-24, sealed, at 149.)



      Defendant’s counsel sent correspondence to Plaintiff’s coverage counsel on

December 11, 2012, acknowledging coverage counsel’s “significantly revised

analysis of the ‘reasonableness’ of RT’s settlement demand . . . on 12/4/12.” (Doc.

124-24, sealed, at 152.) Defendant’s counsel stated that “the amount of RT’s

settlement demand and the urgency to respond to it did come as a complete

surprise” to Defendant. (Id.) After stating that Defendant is “permitted to

participate in settlement discussions,” defense counsel also expressed concern that

Plaintiff and RT had “apparently been involved in principal-to-principal settlement

discussions since the mediation, and [Plaintiff] never apprised [Defendant] of this

fact.” (Id.) Defense counsel stated that Defendant “only learned of the ongoing

settlement discussions based on its reading of RT’s settlement demand, forwarded

with your 11/20/12 letter.” (Id.) Defendant again requested that it “be advised of

the entirety of the settlement terms being discussed, including all non-monetary


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terms.” (Id.)

      Plaintiff’s coverage counsel responded that same day, arguing it was

“improper” for Defendant to see draft settlement terms that involve “distinct

business issues outside the scope of an insurer’s defense or indemnity coverage,

particularly when that insurer has disavowed its obligation to assist in the

prosecution of affirmative causes against the claimant.” (Doc. 124-24, sealed, at

155.) Counsel also mentioned that Plaintiff was awaiting Defendant’s “extension

of authority to finalize any agreement.” (Id., at 156.) Coverage counsel

questioned why Defendant “has not explained why it has continued to delay even

while mindful that this delay may prevent settlement” even though Defendant

received the most recent settlement demand offer “twenty two days ago.” (Id.)

Coverage counsel also informs Defendant that because “no money has yet been

offered regarding [RT’s] claims, you can have no legitimate objection to the

continued exploration of this settlement opportunity.” (Id., at 160.)

      Also on December 11, 2012, Plaintiff’s litigating counsel e-mailed RT’s

attorney asking when he “might expect to see your proposed revisions to the

settlement agreements.” (Doc. 124-24, at 162.) He was “hoping” the agreements

can be finalized in the next week because he was scheduled to be out of town the

following week. (Id.)


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      The next day, December 12, 2012, Plaintiff’s coverage counsel sent a letter

to Defendant’s coverage counsel stating that “RT demands this matter be resolved

by the close of business tomorrow or any proposal to settle RT’s action against

Plaintiff will be withdrawn and the matter will proceed to trial, in order to facilitate

year end consummation of the proposed settlement terms’s conditions.” (Doc.

124-24, at 169.) Plaintiff’s coverage counsel states that “no lesser sum” than $5

million “will suffice.” (Id.)

      The Court is aware of no evidence that RT in fact drew such proverbial line

in the sand as to the timing of any resolution. To the contrary, also on December

12, 2012, RT’s counsel sent an e-mail to Plaintiff’s counsel attaching RT’s

revisions to the most recent settlement agreement. (Doc. 124-24, sealed, at 165.)

The Court notes that this e-mail from RT’s counsel (id.) does not express the same

urgency to settle by a certain date that Plaintiff’s coverage counsel attributes to RT

in coverage counsel’s December 12 letter to defense counsel (id., at 169). Rather,

RT’s email to Plaintiff states that

             all of the proposed terms remain conditional upon the
             parties’ agreement on the payment terms, which we are
             still waiting to hear from you on. We understand you are
             still waiting to hear from [Defendant] and just ask that
             you relay the proposed payment terms to us as soon as
             possible so that we can continue to diligently work on the
             settlement.


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(Doc. 124-24, sealed, at 165.)

       By correspondence dated December 17, 2012, Plaintiff’s coverage counsel

confirms that Defendant extended $5 million of authority to settle RT’s claims

against Defendant. (Doc. 124-24, sealed, at 172.) Plaintiff’s coverage counsel

attests that

               [p]rior to your extension of $5 million in authority, no
               monetary figure was referenced in the parties proposals,
               and at no time had the parties agreed on any amount to be
               paid.10 As they addressed various business issues (of no
               concern to [Defendant]) which the parties have been
               discussing, there was no point in forwarding to
               [Defendant] unconsummated drafts. We are now
               negotiating a dollar figure with [RT] and believe we can
               settle if we can secure $5 million for [Defendant] well in
               advance of year’s end.

(Id.) Plaintiff’s coverage counsel notes that “if a settlement for $5 million is

achieved, it will be due to [Plaintiff’s] surrender of valuable interests in addition to

[Defendant’s] cash contribution.” (Id., at 173.)

       On December 18, 2012, Plaintiff’s coverage counsel e-mailed a draft

settlement agreement to RT’s attorneys “suggesting some revisions that will

hopefully satisfy the concerns regarding insurance which we discussed earlier

       10
         As stated above, however, a draft settlement agreement was sent to Plaintiff’s
counsel by RT’s counsel on November 27, 2012. (Doc. 124-24, at 63-79.) This draft
agreement includes an amount of $8 million to be paid by RT to Plaintiff. (Id., at 66.)
This $8 million was specifically removed by Plaintiff’s litigating counsel in the
November 30, 2012, draft. (Id., at 116.)

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today.”11 (Doc. 124-24, sealed, at 175.) Counsel at Gallagher & Kennedy

responded that

             [t]he revisions you made to the draft of the RT
             Agreement do not satisfy the concerns we raised with
             you and David in our call yesterday afternoon. The
             proposed course of action was for the insurance company
             [Defendant] to write a check to [Plaintiff] directly, with
             language in the agreement that put the carrier on
             notice that although the payment would resolve and
             extinguish the claims asserted by RT against
             [Plaintiff], it was part and parcel of a global
             resolution, which would include business concessions
             by [Plaintiff] and the payment of monetary
             compensation by RT to [Plaintiff]. We understood that
             your office was awaiting confirmation, expected
             tomorrow, that the carrier would accept that settlement
             structure. The revised language you propose
             contemplates the carrier sending a check for $5
             million to “a payee designated by RT.” Presumably,
             this designee would be [a Plaintiff] affiliated entity.
             Alternatively, you may be proposing that the designee is,
             in fact, an RT entity, which we assume would then
             contemplate a $13 million payment by RT to [Plaintiff].
             This is the structure which we told you yesterday was
             unacceptable to RT. Finally, the language you added
             to the “Whereas” clause on p. 2 exacerbates the
             problem instead of putting the carrier on notice that
             its payment is, in fact, part and parcel of a

      11
          The email was sent to counsel at the Ballard Spahr firm, which the Court is
aware represented RT, as well as counsel at the firm of Gallagher & Kennedy, P.A. The
Court surmises that Gallagher & Kennedy also represented RT, but cannot be certain
from the information presented. Regardless, counsel at Gallagher & Kennedy was
involved in finalizing the RT litigation settlement agreements and, as noted infra,
expressed reservations about representations Plaintiff was making to Defendant’s counsel
in regard to that settlement.

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             comprehensive settlement of all of the claims asserted
             by both parties in the consolidated action.

(Doc. 124-24, sealed, at 188 (emphasis added).)

      F.     Application of Facts Presented to Allegations Made.

      Defendant argues that Plaintiff’s “knowledge that it reached a settlement

with RT for $8 million, and/or that its counsel had a 25% contingency reward in

the net settlement to [Plaintiff], and its failure to inform [Defendant] of the fact that

it was in settlement discussions for some two months, and that it settled with RT

before [Defendant] agreed to offer its policy limits in settlement, amply justifies an

in camera review of [Plaintiff’s] allegedly privileged communications.” (Doc.

124, sealed, at 27.) Defendant enumerates various communications it had with

Plaintiff and/or its counsel (id., at 27-46) in an effort to “demonstrate that

[Plaintiff] likely reached a settlement with RT weeks before Universal agreed to

make its $5 million policy limits available for settlement . . . .” (Id., at 47.)

Defendant continues that “[i]n other words, it appears that [Plaintiff] knew it had

already settled both lawsuits for $8 million, yet sought to omit/conceal the details

of that settlement from Universal so that it could obtain an additional $5 million

from Universal.” (Id.) Defendant does not, however, expend much, if any, effort

analyzing or explaining how these listed communications specifically support this

argument.
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      The Court will, however, analyze the facts presented in Defendant’s brief to

determine whether there is sufficient evidence to meet a prima facie case of

criminal or fraudulent activity. As stated above, Defendant contends that

Plaintiff’s factual omissions and/or misrepresentations fall under the following

categories: 1) Plaintiff’s alleged failure to inform Defendant of the 25%

contingency reward to Plaintiff’s counsel in the net settlement to Plaintiff; 2)

Plaintiff’s alleged failure to inform Universal that it was in settlement discussions

with RT for some two months following the unsuccessful mediation of the RT

litigation; 3) Plaintiff’s alleged failure to inform Defendant that it reached a

settlement agreement with RT in which RT would pay Plaintiff $8 million,

essentially funded in party by Defendant; and 4) Plaintiff’s alleged settlement with

RT before Defendant agreed to offer its policy limits in settlement.

             1.     Plaintiff’s failure to inform Defendant that Plaintiff’s
                    counsel had a 25% contingency reward in the net
                    settlement to AKH.

      There is evidence that at some point before July 5, 2011, a contingency

agreement existed between Plaintiff and its litigating counsel in which counsel agreed to

discount its hourly fee “on condition that our contingency recovery on the back end

remain at 25%.” (Doc. 124-23, sealed, at 1.) It is uncontested, however, that Defendant

was aware of the existence of the contingency agreement no later than January 26, 2012,


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when litigating counsel informed Defendant’s claims handler that “he had entered into

an agreement with [Plaintiff] regarding a partial contingency, which reduced his hourly

rate to $600 per hour.” (Doc. 32-9, at 3, 18.)

       Although this is, at a minimum, more than six months after the contingency

agreement was created, it is also almost an entire year before the settlement was

finalized in the RT litigation. As such, even assuming Plaintiff should have informed

Defendant of the contingency agreement by an earlier date or in some other manner, the

fact remains that Defendant was aware of the contingency fee sufficiently in advance of

the finalized settlement. Although not fraudulent in and of itself, this fact does suggest

motivation for participation in the fraud described in subsection 3, infra.

              2.    Plaintiff’s failure to inform Universal that it was in
              settlement discussions with RT for some two months.

       Defendant complains that, following the unsuccessful mediation of the RT

litigation, Plaintiff and representatives of RT engaged in settlement discussions for

approximately two months before Defendant was made aware of such discussions.

The mediation occurred in September 2012. (Doc. 124-24, sealed, at 41-42.)

Defendant was aware of the continued settlement negotiations no later than

November 19, 2012 – approximately two months after the failed mediation and

approximately a month before the finalized settlement of the RT litigation. (Doc.

124-24, sealed, at 25-34, 36-39.)

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       The Court acknowledges that Plaintiff had a contractual duty to Defendant to

cooperate and assist Defendant “in the investigation, settlement, defense,

enforcement of contribution or indemnification.” (Doc. 124, sealed, at 21.) The

Court also acknowledges that the insurance contract also prohibited Plaintiff,

except at its own expense, from “mak[ing] any offer or payment, assum[ing] any

obligation . . . .” (Id.)

       In addition to defending the RT lawsuit, Plaintiff was also prosecuting

claims against RT with which Defendant, by choice, was not involved. It is

undisputed that the final resolution of these claims would be intertwined. Further,

information regarding settlement of Plaintiff’s claims against RT would certainly

be relevant to Defendant’s analysis of any settlement of RT’s claims against

Plaintiff. Even so, under circumstances (involving claims not entirely covered by

the insurance policy at issue), the Court finds that Plaintiff’s post-mediation

settlement discussions with RT without input from Defendant do not provide

evidence supporting a prima facie case under the crime-fraud exception to the

attorney-client privilege.

              3.      Plaintiff’s failure to timely inform Defendant of an $8
                      expected million payment from RT which was to be
                      partially funded by Defendant and Plaintiff’s alleged
                      settlement with RT before Universal agreed to offer its
                      policy limits.


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      The Court will address these final two allegations together. In support of

these allegations, Defendant argues that

            [t]he documents [it] seeks pursuant to the crime-fraud
            exception to the attorney-client privilege are identified on
            [Plaintiff’s] privilege log as communications involving
            [Plaintiff] personnel . . . and [Plaintiff’s] counsel
            attorneys . . . . These communications concern
            ‘settlement’ or ‘draft settlement agreement(s)’ or
            ‘finalization of settlement agreements,’ for all dates that
            precede [Plaintiff’s] communication to Universal on
            November 20, 2012 of RT’s alleged settlement demand
            of November 19, 2012 to [Plaintiff]. They also include
            those communications made through [Defendant’s]
            payment of $5 million, sent to [Plaintiff’s] attorney . . .
            on December 31, 2012.
                   [Plaintiff’s] description of these communications
            and the dates of these communications demonstrate that it
            likely reached a settlement with RT weeks before
            [Defendant] agreed to make its $5 million policy limits
            available for settlement on December 13, 2012. In other
            words, it appears that [Plaintiff] knew that it had already
            settled both lawsuits for $8 million, yet sought to
            omit/conceal the details of that settlement from
            [Defendant] so that it could obtain an additional $5
            million from [Defendant.] Otherwise, the documents
            would expose the arrangement between [Plaintiff] and
            RT that allowed [Plaintiff] to pocket the $5 million
            [Defendant] policy limits.

(Doc. 124, sealed, at 46-48)

      Plaintiff continues that “[a]bsent the required evidentiary showing, and with

a motion premised heavily upon what is allegedly possible and not what is proven

by competent evidence, the motion does not meet the required showing” of a prima

                                           37
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facie case under the crime-fraud exception. (Doc. 136, at 12 (emphasis in

original).) Plaintiff asks, “Can [Defendant] extrapolate from the fact that there was

a history of varying prior settlement demands or offers, or a prior draft settlement

agreement for a different amount, that there was a prior undisclosed settlement,

even if none of the prior offers were accepted?” (Id., at 13.) Plaintiff continues,

                Moreover, here, the evidence as addressed in this
                Opposition shows that [Defendant], through its in house
                and outside coverage counsel, knew and reviewed the
                details of the settlement, including the settlement
                agreements and the escrow agreement. Incidentally, the
                motion itself is silent as to this point. In other words, the
                claim that [Defendant] did not know about the terms of
                the settlement agreements or the escrow or payments of
                money by each party to settle their respective claims is
                simply inaccurate. [Defendant] simply saying that it
                knew nothing about the settlements, or was barred from
                reviewing them, is not enough, especially when its
                counsel is in the email chain showing that it reviewed and
                edited the settlement agreements.

(Id., at 14.)

       Plaintiff’s argument misrepresents Defendant’s concerns. Defendant did not

get an opportunity to review and edit the underlying settlement agreement until

mid to late November, 2012. By that point, or contemporaneously therewith,

Defendant was under significant pressure from Plaintiff’s litigating counsel and

Plaintiff’s coverage counsel to approve the settlement terms as soon as possible –

even though communications involving RT’s counsel do not necessarily evidence

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the same urgency Plaintiff’s counsel was attributing to RT.

      As discussed above, on December 11, 2012, Plaintiff’s litigating counsel e-

mailed RT’s attorney asking when he “might expect to see your proposed revisions

to the settlement agreements.” (Doc. 124-24, at 162.) He was “hoping” the

agreements can be finalized in the next week because he was scheduled to be out of

town the following week. (Id.) The next day, Plaintiff’s coverage counsel sent a

letter to Defendant’s coverage counsel stating that “RT demands this matter be

resolved by the close of business tomorrow or any proposal to settle RT’s action

against Plaintiff will be withdrawn and the matter will proceed to trial, in order to

facilitate year end consummation of the proposed settlement terms’s conditions.”

(Doc. 124-24, at 169.)

      Defendant was not included in settlement negotiations between Plaintiff and

RT. Considering Plaintiff had claims against RT that were not covered by

insurance, the Court acknowledges that Plaintiff had arguably legitimate reasons to

continue negotiating with RT without Defendant’s involvement. As stated in § F.

2. above, however, the Court finds that information regarding settlement of

Plaintiff’s claims against RT would certainly be relevant to Defendant’s analysis of

any settlement of RT’s claims against Plaintiff. An intentional concealment of this

arrangement by Plaintiff would be fraudulent.


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      Some evidence appears to indicate that Plaintiff was actively attempting to

mislead Defendant about the universal settlement with RT – in particular the fact

that Plaintiff would ultimately receive the $5 million Defendant was paying under

Plaintiff’s insurance policy to settle RT’s claims against Plaintiff. As outlined in

the factual background, supra, Plaintiff’s coverage counsel e-mailed a draft

settlement agreement to RT’s attorneys on December 18, 2012, “suggesting some

revisions that will hopefully satisfy the concerns regarding insurance which we

discussed earlier today.” (Doc. 124-24, sealed, at 175.) Counsel at Gallagher &

Kennedy responded that

             [t]he revisions [Plaintiff’s coverage counsel] made to
             the draft of the RT Agreement do not satisfy the
             concerns we raised with you and David in our call
             yesterday afternoon. The proposed course of action was
             for the insurance company [Defendant] to write a check
             to [Plaintiff] directly, with language in the agreement
             that put the carrier on notice that although the
             payment would resolve and extinguish the claims
             asserted by RT against [Plaintiff], it was part and
             parcel of a global resolution, which would include
             business concessions by [Plaintiff] and the payment of
             monetary compensation by RT to [Plaintiff]. . . . The
             revised language you propose contemplates the
             carrier sending a check for $5 million to “a payee
             designated by RT.” Presumably, this designee would be
             [a Plaintiff] affiliated entity. Alternatively, you may be
             proposing that the designee is, in fact, an RT entity,
             which we assume would then contemplate a $13 million
             payment by RT to [Plaintiff]. This is the structure


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             which we told you yesterday was unacceptable to RT.
             Finally, the language you added to the “Whereas”
             clause on p. 2 exacerbates the problem instead of
             putting the carrier on notice that its payment is, in
             fact, part and parcel of a comprehensive settlement of
             all of the claims asserted by both parties in the
             consolidated action.

(Doc. 124-24, sealed, at 188 (emphasis added).) This suggests that Plaintiff was

actively attempting to conceal aspects of its settlement with RT – namely, that the

$5 million settlement payment from Defendant to RT was, in fact, going to be paid

by RT back to Plaintiff.

      Additionally, the November 28, 2012, correspondence to Defendant from

Plaintiff’s coverage counsel which inquires as to the status of Defendant’s response

to Plaintiff’s counsel’s November 20, 2012, letter discussing RT’s $20 million

settlement demand supports Defendant’s claim. (Id., at 84-85.) The November

28th letter reminds Defendant of coverage counsel’s recommendation to settle the

case for $15 million. Coverage counsel “respectfully insist[ed]” that Defendant

authorize a settlement for $15 million within 2 days. (Id., at 85.) This seems

questionable in light of the reference to an $8 million payment to Plaintiff in the

draft settlement agreement Plaintiff’s litigating counsel received from RT the day

before on November 27, 2012 (id., at 63, 66) – especially considering that $8

million reference was removed by Plaintiff’s litigating counsel in its November 30,


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2012, settlement agreement draft (id., at 92, 116).

      Further, defense counsel’s December 11, 2012, correspondence expressed

concern that Defendant “only learned of the ongoing settlement discussions”

between Plaintiff and RT “based on [Defendant’s] reading of RT’s settlement

demand, forwarded with your 11/20/12 letter.” (Doc. 124-24, sealed, at 152.)

Defendant again requested it “be advised of the entirety of the settlement terms

being discussed, including all non-monetary terms.” (Id.) Plaintiff’s coverage

counsel’s immediate response was that it was “improper” for Defendant to see

draft settlement terms that involve “distinct business issues outside the scope of an

insurer’s defense or indemnity coverage, particularly when that insurer has

disavowed its obligation to assist in the prosecution of affirmative causes against

the claimant.” (Id., at 155.) Coverage counsel also informed Defendant that

because “no money has yet been offered regarding [RT’s] claims, you can have

no legitimate objection to the continued exploration of this settlement

opportunity.” (Id., at 160 (emphasis added).) This would seem to contradict the

$8 million that was initially included in – and subsequently removed by Plaintiff’s

coverage counsel from – the draft settlement agreement, discussed above. (See id.,

at 66, 92, 116.)

      These facts, taken as a whole, establish a prima facie case sufficient to


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invoke the crime-fraud exception to the attorney-client privilege – false

representations made by Plaintiff as to a material fact or the suppression of facts

which Plaintiff was under a legal or equitable obligation to communicate and “in

respect of which [it] could not be innocently silent . . . .” DuShane v. Union Nat.

Bank, 223 Kan. at 759, 576 P.2d at 678.12 The Court must now fashion the

appropriate remedy and parameters for the document production being ordered

from Plaintiff.

      F.     Procedure for Production.

      Plaintiff shall provide to the Court for in camera inspection all

communications between itself and counsel (whether coverage counsel or litigating

counsel) that were withheld on the basis of the attorney-client privilege or work

product doctrine that occurred from the completion of the unsuccessful mediation

in September 2012 until Defendant received the final draft of the settlement

agreement with RT in December 2012. The documents shall be delivered to the

Court within thirty (30) days of the date of this Order in both a hard copy as

well as by searchable PDF form (saved in individual pages). The Court will

review the communications for evidence of an intent by Plaintiff to conceal



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         The Court does not suggest that these facts establish fraud. Rather, standing
alone and unrebutted, they would create a prima facie case of fraud.

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material elements of the negotiations or settlement from Defendant.

      To the extent Plaintiff has withheld any communications with, or documents

shared with, RT at any time on the basis of the attorney-client privilege or work

product doctrine, such documents shall be produced to Defendant as no privilege

applies to documents shared with a third party. The documents shall be delivered to

Defendant within thirty (30) days of the date of this Order in both a hard copy as

well as by searchable PDF form (saved in individual pages).



      IT IS THEREFORE ORDERED that Defendant’s Motion to Compel

Production of Documents (Doc. 123) is GRANTED as more fully set forth herein.

      IT IS SO ORDERED.

      Dated at Wichita, Kansas, on this 3rd day of July, 2014.

                                        S/ KENNETH G. GALE
                                       KENNETH G. GALE
                                       United States Magistrate Judge




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